Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 1 of 8 PageID 1720




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


 ANGEL COLON, NORMAN E.
 CASIANO-MOJICA, FRANCHESSKA
 MERCADO, JEANETTE MCCOY,
 CESAR RODRIGUEZ, COREY
 RIVERA, ROSAMARIA FEBO, DAVID
 JOURDENAIS, EMILY ANN
 PORTALATIN, RODNEY SUMTER,
 ADRIAN LOPEZ, JAVIER NAVA,
 LEONEL MELENDEZ, JOAQUIN
 ROJAS, KALIESHA ANDINO,
 CARLOS MUNIZ, JUAN J. CUFINO-
 RODRIGUEZ, IVAN DOMINGUEZ,
 CASSANDRA MARQUEZ, GEOFFREY
 RODRIGUEZ, DONALD BROWN,
 JOSE DIAZ, JAMMY VALENTIN
 FERNANDEZ, CARLOS J. PEREZ
 ANGLERO, DEMETRIUS POLANCO,
 MIGUEL VEGA, CARMEN N CAPO-
 QUINONES, CORY RICHARDS,
 JONATHAN L. GARCIA, OLGA
 MARIA DISLA, NATHAN OROZCO,
 BETTIE LINDSEY, NEREDIA RIBOT,
 YVENS CARRENARD, SONIA N
 CEDENO, KADIM RAMOS,
 MERCEDES GARCIA, SANDY
 ROBERTS, MERCEDES A. MCQUERY,
 JAVIER ANTONETTI, KEINON
 CARTER, MARISSA DELGADO,
 MAVELYN MERCED, JUAN
 ANTONETTI, ROLANDO J
 RODRIGUEZ, CHRISTIAN ORIZ-
 CARDONA, YORVIS JOSE
 CAMARGO-ROMERO, JOSEPH
 NEGRON, CHRISTOPHER HANSEN,
 NELSON RODRIGUEZ, ROBERTO
 TEXIDOR-CARRASQUILLO, CHRISS
 MICHAEL WEST, JACOBI CEBALLO,
 MICHAEL GONZALEZ, MARITZA
 GOMEZ, MOHAMMED S ISLAM,
 FRANCISCO G. PABON GARCIA,
 BERNICE DEJESUS VALAZQUEZ,




                                  Page 1 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 2 of 8 PageID 1721




 ISMAIL MEDINA MORALES, EDWIN
 RIVERA ALVAREZ, JOSE PACHECO
 and LIZMARYEE FINOL VILORIA,

                       Plaintiffs,

 v.                                                            Case No: 6:18-cv-515-Orl-41GJK

 TWITTER, INC., GOOGLE, LLC and
 FACEBOOK, INC.,

                       Defendants.
                                              /

                                             ORDER

        THIS CAUSE is before the Court upon sua sponte review of the record. On October 22,

 2019, the Court held a Telephonic Status Conference to discuss violations of Local Rules by

 Plaintiffs’ counsel Keith Altman. (Min. Entry, Doc. 100). Plaintiffs’ local counsel Michael T.

 Gibson and counsel for Defendants also appeared telephonically.

                            I.       BACKGROUND AND LOCAL RULES

        By way of background, Plaintiffs have filed a Third Amended Complaint (Doc. 81),

 Defendants have filed a Joint Motion to Dismiss the Third Amended Complaint (“Motion,” Doc.

 84), and Plaintiffs have filed a Response in Opposition (“Response,” Doc. 91). The document at

 issue here is the Response, which was signed and filed in CM/ECF by Mr. Altman. (Id. at 31).

        Local Rule 1.05(a) requires that, except for quotations of three lines or more and footnotes,

 “all pleadings and other papers tendered by counsel for filing shall be typewritten, double-spaced,

 in at least [twelve]-point type, . . . with one and one-fourth inch top, bottom and left margins

 and a one to one and one-fourth inch right margin.” M.D. Fla. Local Rule 1.05(a) (emphases

 added). The Local Rules also require that responses to a motion shall not exceed twenty pages. Id.

 at R. 3.01(b).




                                            Page 2 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 3 of 8 PageID 1722




        Upon reviewing the Response, it was readily apparent to the Court that the document does

 not comply with Local Rule 1.05(a). Violations of the local rule, as shown in the screenshots

 below, include:

             •     Approximately1 1.74 line spacing instead of the required double-spacing
             •     Approximately 0.87 line spacing instead of the required single-spacing for block
                   quotations
             •     One-inch left margin instead of the required 1.25-inch margin
             •     Single line spacing between the end of paragraphs and the subsequent heading
                   instead of the required double-spacing




        1
          It is clearly apparent from the face of the Response that the text is not double-spaced nor
 are the quotations single-spaced. However, because documents are filed in PDF format, the Court
 had to convert the Response to Microsoft Word format in order to fairly consider the violations.
 Therefore, these representations are close approximations of the line spacing.



                                             Page 3 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 4 of 8 PageID 1723




         When offered an opportunity by the Court to address these obvious deficiencies during the

 Telephonic Status Conference, Mr. Altman decided to pursue an aggressive and quite unapologetic

 approach. First, he stated that he would open the Microsoft Word document to determine whether

 there was a problem. Presumably, he was checking for spacing errors. However, Mr. Altman later

 made it clear to the Court that the document spacing was deliberate. He then attempted to justify

 the violation by explaining that “[t]here is an issue [with Microsoft] Word.” He stated: “We have

 Word’s interpretation of double spacing is bigger than double spacing which is more than two

 times the font size. And so we have selected exactly 24 points which is exactly double spacing by

 definition. . . . [T]he single spacing . . . is set at exactly 12 points for the spacing which is exactly

 single spaced.” When asked by the Court whether he filed all of his documents with these settings,

 Mr. Altman replied in the affirmative.

         Additionally, upon closer inspection of the docket, the Response is twenty-five pages in

 length, when the Local Rules only allow for a response of twenty pages. After Plaintiffs filed their

 First Amended Complaint in this matter, both parties were granted leave to file excess pages—

 thirty pages for Defendants’ Motion to Dismiss in response to the First Amended Complaint, and

 twenty-five pages for Plaintiffs’ Response. (June 22, 2018 Endorsed Order, Doc. 58). After

 Plaintiffs filed their Third Amended Complaint, Defendants again moved for leave to file excess



                                               Page 4 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 5 of 8 PageID 1724




 pages for their anticipated motion to dismiss, (Motion for Leave to File Excess Pages, Doc. 82, at

 3), which was granted, (Apr. 24, 2019 Endorsed Order, Doc. 83). However, Plaintiffs never moved

 for nor were granted a variance from Local Rule 3.01(b) to allow them to file greater than a twenty-

 page response to Defendants’ Motion. The five extra pages plus the other spacing violations

 resulted in—by this Court’s approximation—an extra twelve pages in the Response.

                                         II.       ANALYSIS

        Mr. Altman violated the Local Rules. 2 Specifically, Mr. Altman violated Local Rule

 1.05(a) by using improperly narrow margins and Local Rule 3.01(b) by filing the Response of

 twenty-five pages without requesting or being granted leave of the Court to file greater than twenty

 pages. These violations might have been overlooked by the Court as genuine mistakes but for the

 other more egregious violations involving line spacing as well as the troubling representations

 made to the Court when confronted with the violations.

        Looking to Mr. Altman’s argument regarding double-spacing versus twenty-four-point

 spacing—as equally applied to single-spacing versus twelve-point spacing—this argument is

 neither novel nor correct. In fact, at least two other United States District Courts have addressed

 this attempted circumvention of Local Rules by attorneys. See Order, Virnetx, Inc. v. Microsoft

 Corp., No. 6:07-cv-80 (E.D. Tex Apr. 29, 2010) (striking the offending documents and granting

 leave to file within one business day); Endorsement, Lopez v. The Gap Inc., No. 1:11-cv-3185

 (S.D.N.Y. May 3, 2012) (granting additional pages for reply brief due to line spacing violations of

 opposing party); Order, CafeX Commc’ns, Inc. v. Amazon Web Servs., No. 17-civ-1349 (S.D.N.Y.

 Mar. 30, 2017) (ordering offending party to re-file a compliant brief and to pay monetary



        2
         It is worth noting that the Court has the privilege of reviewing hundreds if not thousands
 of documents per year. The violations here are clear on the face of the document. The subsequent
 conversion to Microsoft Word was merely a cautionary exercise aimed at confirming the obvious.



                                               Page 5 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 6 of 8 PageID 1725




 sanctions). In none of the three cases located did the District Court allow the offending document

 to stand without some repercussion.

        Because these other cases are not binding on this Court, the Court will undertake the

 academic exercise of explaining exactly why Mr. Altman is incorrect in his argument. The issue

 before the Court—double-spacing versus twenty-four-point spacing—is a question of interpreting

 what exactly the Middle District of Florida means by the term “double-spaced” in Local Rule

 1.05(a). By a plain-meaning 3 interpretation, “double” spacing might mean double the font height

 (i.e., twenty-four-point spacing for twelve-point font), as Mr. Altman argues. But, as Black’s Law

 Dictionary cautions in the very definition of the plain-meaning rule, “this rule is often condemned

 as simplistic because the meaning of words varies with the . . . context and the surrounding

 circumstances.” On the other hand, applying originalism 4—as is appropriate in this scenario

 because the Middle District of Florida Local Rules were in fact adopted and promulgated by the

 Court itself—“double-spaced” undoubtedly means the traditional setting in Microsoft Word aptly

 labeled as “[d]ouble” under the “[l]ine spacing” option.

        If this analysis is not clear enough, the Court will point out one additional factor that

 validates its position that Mr. Altman’s argument is a futile attempt to deny his violation of the

 Local Rules. When asked by the Court whether Mr. Altman filed all of his documents in this

 manner, i.e., twenty-four-point spacing, he responded in the affirmative. That is simply not true.

 Plaintiffs’ Third Amended Complaint, a document which is not page-limit constrained by the




        3
           Black’s Law Dictionary defines the “plain-meaning rule” to mean “[t]he doctrine that if
 a legal text is unambiguous it should be applied by its terms without recourse to . . . any other
 matter extraneous to the text unless doing so would lead to an absurdity.”
         4
           Black’s Law Dictionary defines “originalism” as, inter alia, “[t]he doctrine that a legal
 instrument should be interpreted to effectuate the intent of those who prepared it or made it legally
 binding.”



                                             Page 6 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 7 of 8 PageID 1726




 Local Rules, is double-spaced according to the Microsoft Word pre-set for double-spacing. 5 Other

 filings by Mr. Altman also employ true double-spacing. (See, e.g., Doc Nos. 11, 50, 65, 86). While

 the Court will not speculate as to Mr. Altman’s motives in making his argument, the Court is

 concerned that Mr. Altman may have misled the Court.

        Though applied in a different context than the instant issue, the Fifth Circuit aptly captured

 the importance of attorneys practicing in a “faithful and ethical” manner—“Indeed, the

 preservation of our civil liberties depends upon the faithful and ethical exercise of power by those

 who bear the mantle of public trust.” Dickson v. Quarterman, 462 F.3d 470, 480 (5th Cir. 2006)

 (citing Cheney v. U.S. Dist. Court, 542 U.S. 367, 386 (2004)). Consequently, Mr. Altman must be

 called on to answer for violating the Local Rules, especially in light of the troubling statements

 made at the Telephonic Status Conference in defense thereof.

                                        III.     CONCLUSION

        In accordance with the foregoing, it is ORDERED and ADJUDGED as follows:

            1. On or before 12:00 PM, November 4, 2019, Mr. Altman shall SHOW CAUSE

                in writing as to why sanctions should not be imposed. Failure to timely respond

                may result in the imposition of sanctions without further notice.

            2. On or before 12:00 PM, November 4, 2019, counsel for Defendants shall each

                file an itemized list of the costs and fees incurred in the drafting and filing of their

                Joint Motion to Dismiss the Third Amended Complaint (Doc. 84) and the fees




        5
         It does appear that Plaintiffs’ Response in Opposition (Doc. 72) to the motion to dismiss
 the Second Amended Complaint contains the same offending line spacing. However, Plaintiffs’
 Second Amended Complaint was summarily dismissed as a shotgun pleading, (see Mar. 26, 2019
 Order, Doc. 80, at 3), so the applicable motion to dismiss and response were disregarded as moot.



                                               Page 7 of 8
Case 6:18-cv-00515-CEM-GJK Document 102 Filed 10/24/19 Page 8 of 8 PageID 1727




               associated with appearing telephonically at the October 22, 2019 Telephonic Status

               Conference.

        DONE and ORDERED in Orlando, Florida on October 24, 2019.




 Copies furnished to:

 Counsel of Record




                                          Page 8 of 8
